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17               FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
     JENNY LISETTE FLORES; et al.,         ) Case No. CV 85-4544-DMG
19                                         )
20           Plaintiffs,                   ) NOTICE OF APPEAL
                                           )
21                v.                       ) Hon. Dolly M. Gee
22                                         )
     JEFFERSON B. SESSIONS III,            )
23   Attorney General of the United States;)
24
     et al.,                               )
                                           )
25           Defendants.                   )
26
                                           )
Case 2:85-cv-04544-DMG-AGR Document 486 Filed 09/06/18 Page 2 of 3 Page ID #:24708



 1         Defendants Kirstjen Nielsen, Secretary of Homeland Security, and the U.S.
 2
     Department of Homeland Security and its subordinate entity U.S. Immigration and
 3

 4
     Customs Enforcement, hereby appeal the July 9, 2018 Order, ECF No. 455, in the

 5   above-captioned case to the United States Court of Appeals for the Ninth Circuit.
 6

 7
     DATED:       September 6, 2018         Respectfully submitted,
 8

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 1
                                 CERTIFICATE OF SERVICE
 2

 3
           I hereby certify that on September 6, 2018, I served the foregoing with

 4   attachment on all counsel of record by means of the District Clerk’s CM/ECF
 5
     electronic filing system.
 6

 7

 8                                               /s/ Sarah B. Fabian
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